       Case 3:19-cv-01930-PAD         Document 54       Filed 11/27/19     Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

       UNITED STATES OF AMERICA,
                 Plaintiff

                                                        CIVIL CASE NO. 19-1930 (PAD)
                         v.

        FUNDS IN THE AMOUNT OF
    $53,082,824.19.00 IN U.S. CURRENCY,
     CONTAINED IN THE FOLLOWING
    ACCOUNTS UNDER THE NAME OF
   BANCO SAN JUAN INTERNATIONAL:
      a. xxx-x7689 – MERRILL LYNCH
     ADDRESS: #15 SECOND ST., SUITE
     210, GUAYNABO, PR 00968, UP TO
                $10,000,000.00;

       b. xxx-x7059 – MERRILL LYNCH
      ADDRESS: 225 LIBERTY ST., 41ST
      FL, NEW YORK, NY 10281, UP TO
               $5,000,000.00; AND

       c.    FEDERAL RESERVE BANK
      OF NEW YORK ACCOUNT # xxxx-
          x228-6, UP TO $38,082,824.19,

                    Defendant.

                UNITED STATES OF AMERICA’S MOTION TO RESTRICT

TO THE HONORABLE COURT:

       COMES NOW, the United States of America, by and through its undersigned attorneys,

and files this motion to restrict United States’ Response in Opposition to Claimant’s Motion to

Dismiss Pursuant to the Eight Amendment at Docket No. 20, for the reasons more specifically set

forth below:

       In compliance with the requirements of this Court’s Standing Order No. 9, dated January

30, 2013, the United States respectfully requests that the Pleading be accepted by the Court for
       Case 3:19-cv-01930-PAD             Document 54       Filed 11/27/19    Page 2 of 2
Civil Case No. 19-1930 (PAD)


filing with the following level of restriction: SELECTED PARTIES: Limiting viewing to the

attorney filing the document, attorney for the Claimant and the Court.

       The United is filing the Pleading with the requested level of restriction, because the level

of restriction requested is necessary to protect the confidentiality of information contained in a

sealed case referenced by the claimant.

       As more fully set forth in the Pleading, the protection of the information detailed therein,

outweighs the presumption of public access.

       WHEREFORE, the United States respectfully prays the Court accept and file the Pleading

under the requested restriction level, and that an ORDER issue directing the Pleading to remain

under such restriction level until further order by the Court.

                                      CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I electronically filed the foregoing document with the Clerk of

the Court using the CM/ECF system, which automatically sends copies to all appearing parties.

       RESPECTFULLY REQUESTED.

       In San Juan, Puerto Rico, this 27th day of November 2019.

                                                      W. STEPHEN MULDROW
                                                      United States Attorney


                                                      s/David O. Martorani-Dale
                                                      David O. Martorani-Dale
                                                      Assistant U.S. Attorney
                                                      U.S.D.C.-PR 226004
                                                      350 Carlos Chardón Street
                                                      Torre Chardón
                                                      Hato Rey, Puerto Rico 00918
                                                      Tel. (787 766-5656
                                                      Fax. (787) 771 4050
                                                      Email: david.o.martorani@usdoj.gov




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